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                             UNITED STATES DISTRICT COURT
                                     DISTRICT OF UTAH


 UNITED STATES OF AMERICA,                        NOTICE OF COMPLIANCE WITH
                                                  NOTICING REQUIREMENTS AND
                       Plaintiff,                 FINALITY OF FORFEITURE ORDER

        vs.                                       Case No. 1:23-CR-00006-HCN
 TADASHI KURA KOJIMA, aka AARON
 MICHAEL ZEMAN,                                   Howard C. Nielson, Jr.
                                                  United States District Judge
                       Defendant.


        The United States of America provides the following notice regarding its

 compliance with noticing requirements of the Court’s January 21, 2025 Order of

 Forfeiture (ECF 41) and the finality of that order:

        1.      On January 21, 2025, the Court entered its Order of Forfeiture (ECF 41),

 ordering TADASHI KURA KOJIMA to forfeit certain property (“forfeited property”)

 including:

               Republic of Gamers laptop, model RYZEN 4000, series AX200NGW, SN:
                L8NRKD003182337;
               ASOF TUF F17 Gaming laptop, model TUF706HM, SN:
                M7NRCX06E11730G;
               Motorola CE Cell phone, type MC36F;
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              Garmin Approach S20, SN: 4D0217330; and
              White 1998 Toyota Avalon, VIN: 4T1BF18B1WU284416.

        2.      The Court’s order authorized the United States to commence any applicable

 proceeding to comply with statutes governing third-party rights, including giving notice

 of the forfeiture order. The United States has provided notice as required.

        3.      As required by Rule 32.2(b)(6)(A) of the Federal Rules of Criminal

 Procedure, the government published notice of the Court’s Order of Forfeiture in this

 case on an official internet government website (www.forfeiture.gov) for at least 30

 consecutive days from January 23, 2025, through February 21, 2025, as shown by the

 enclosed declaration. The government also sent direct notice of the Court’s Order of

 Forfeiture to any person (if any) who reasonably appeared to be a potential claimant with

 standing to contest the forfeiture in the ancillary proceeding as indicated by the enclosed

 declaration.

        4.      The Order of Forfeiture provided that it would become final as to defendant

 at the time of sentencing and would become a final order of forfeiture as provided in FED.

 R. CRIM. P. 32.2(c)(2) if no third party filed a timely claim to the forfeited property.

        5.      The Court sentenced the defendant on April 14, 2025. ECF 46. The only

 potential remaining right of the defendant in the forfeited property is a right to request a

 stay of the forfeiture under FED. R. CRIM. P. 32.2(d) upon appeal of the judgment or

 forfeiture order. On April 16, 2025, the Court entered its judgment. ECF 47. The

 government has not appealed the judgment so under FED. R. APP. P. 4, the defendant had
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 14 days from the judgment’s entry to file a notice of appeal. The defendant has not filed a

 timely notice of appeal of the judgment or the forfeiture order.

        6.     As indicated by the enclosed declaration, all the deadlines for third parties

 to file a petition contesting the forfeiture have expired.

        7.     Accordingly, the Court’s Order of Forfeiture (ECF 41) is now a final order

 of forfeiture as to the Defendant and all other persons and entities.

        Respectfully submitted,

                                             FELICE JOHN VITI
                                             Acting United States Attorney

                                             /s/ Travis K. Elder
                                             TRAVIS K. ELDER
                                             Assistant United States Attorney




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                                            DECLARATION

         I, Rebecca Reichert, a Paralegal for the United States Attorney’s Office in the District of

 Utah, am responsible for assisting in the forfeiture proceedings related to United States v.

 TADASHI KURA KOJIMA, 1:23-CR-00006-CW.

         Pursuant to Rule 32.2(b)(6) of the Federal Rules of Criminal Procedure, and consistent

 with the provisions of Rule G(4)(a)(iii) of the Supplemental Rules for Admiralty or Maritime

 Claims and Asset Forfeiture Actions, I published notice of the Court’s forfeiture order on an

 official government forfeiture website at www.forfeiture.gov. The publication began on January

 23, 2025, and ran for 30 consecutive days until February 21, 2025. See enclosed Advertisement

 Certification Report. As provided in 21 U.S.C. § 853(n)(2), persons other than those who

 received direct notice of the forfeiture order had until March 24, 2025 (within thirty days of the

 final publication of notice) to file a petition contesting the forfeiture.

         In compliance with Rule 32.2(b)(6) of the Federal Rules of Criminal Procedure, direct

 notice of the Court’s Order of Forfeiture was sent to any person who reasonably appeared to be a

 potential claimant with standing to contest the forfeiture in the ancillary proceeding. Such

 persons included the following who were sent our notice by certified mail:

  Name                      Date Notice Sent      Date Notice Delivered       Deadline to File Petition
  Aaron Michael Zeman       01/22/2025            No Delivery Confirmation

 A copy of the notice letter is enclosed. Such persons also include the following to whom the

 notice was sent by first-class mail, which was returned:

                          Name                        Date Notice Sent
                          Aaron Michael Zeman         01/22/2025

 A copy of the notice letter is enclosed.
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        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge and belief.

          Dated: May 1, 2025.


                                                FELICE JOHN VITI
                                                Acting United States Attorney

                                                /s/ Rebecca Reichert
                                                Rebecca Reichert, Paralegal
                                                Asset Forfeiture Section




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 Attachment 1


                        UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF UTAH, CRIMINAL DIVISION
          COURT CASE NUMBER: 1:23-CR-00006-HCN; NOTICE OF FORFEITURE

         Notice is hereby given that on January 21, 2025, in the case of U.S. v. Tadashi
 Kura Kojima, Court Case Number 1:23-CR-00006-HCN, the United States District Court
 for the District of Utah entered an Order condemning and forfeiting the following property
 to the United States of America:

        Miscellaneous Electronic Equipment:
        one (1) Republic of Gamers Laptop Model Ryzen 4000 series AX200NGW, Ser No:
        L8NRKD003182337 (23-FBI-002371), which was seized from Tadashi Kura Kojima
        on or about January 25, 2023 at or near Grand Island, NE.

        one (1) ASOF TUF F17 Gaming Laptop Model TUF706HM, Ser No:
        M7NRCX06E11730G (23-FBI-002371), which was seized from Tadashi Kura Kojima
        on or about January 25, 2023 at or near Grand Island, NE.

        one (1) Garmin Approach S20, Ser No: SN4D0217330 (23-FBI-002371), which was
        seized from Tadashi Kura Kojima on or about January 25, 2023 at or near Grand
        Island, NE.

        one (1) Motorola CE Cellphone, Ser No: MC36F (23-FBI-002371), which was seized
        from Tadashi Kura Kojima on or about January 25, 2023 at or near Grand Island,
        NE.

        1998 Toyota Avalon VIN# 4T1BF18B1WU284416 (23-FBI-002373), which was
        seized from Tadashi Kura Kojima on or about January 25, 2023 at or near Grand
        Island, NE.

         The United States hereby gives notice of its intent to dispose of the forfeited
 property in such manner as the United States Attorney General may direct. Any person,
 other than the defendant(s) in this case, claiming interest in the forfeited property must file
 an ancillary petition within 60 days of the first date of publication (January 23, 2025) of this
 Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
 Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
 filed with the Clerk of the Court, 351 S. West Temple, Salt Lake City, UT 84101, and a
 copy served upon Assistant United States Attorney Travis K. Elder, 111 South Main Street,
 Suite 1800, Salt Lake City, UT 84111. The ancillary petition shall be signed by the
 petitioner under penalty of perjury and shall set forth the nature and extent of the
 petitioner's right, title or interest in the forfeited property, the time and circumstances of the
 petitioner's acquisition of the right, title and interest in the forfeited property and any
 additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
 U.S.C. § 853(n).
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         Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
 are filed, following the expiration of the period specified above for the filing of such
 ancillary petitions, the United States shall have clear title to the property and may warrant
 good title to any subsequent purchaser or transferee.

         The government may also consider granting petitions for remission or mitigation,
 which pardon all or part of the property from the forfeiture. A petition must include a
 description of your interest in the property supported by documentation; include any facts
 you believe justify the return of the property; and be signed under oath, subject to the
 penalty of perjury, or meet the requirements of an unsworn statement under penalty of
 perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
 mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
 the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
 forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
 made in any particular form and may be filed online or in writing. You should file a petition
 for remission not later than 11:59 PM EST 30 days after the date of final publication of this
 notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
 website provides access to a standard petition for remission form that may be mailed and
 the link to file a petition for remission online. If you cannot find the desired assets online,
 you must file your petition for remission in writing by sending it to Assistant United States
 Attorney Travis K. Elder, 111 South Main Street, Suite 1800, Salt Lake City, UT 84111.
 This website provides answers to frequently asked questions (FAQs) about filing a petition
 for remission. You may file both an ancillary petition with the court and a petition for
 remission or mitigation.
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                                  Advertisement Certification Report


 The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
 between January 23, 2025 and February 21, 2025. Below is a summary report that identifies the uptime
 for each day within the publication period and reports the results of the web monitoring system’s daily
 check that verifies that the advertisement was available each day.

 U.S. v. Tadashi Kura Kojima

 Court Case No:              1:23-CR-00006-HCN
 For Asset ID(s):            See Attached Advertisement Copy

    Consecutive          Date Advertisement         Total Hours Web Site             Verification that
    Calendar Day          Appeared on the           was Available during              Advertisement
        Count                 Web Site                  Calendar Day                existed on Web Site
          1                   01/23/2025                      23.9                          Verified
          2                   01/24/2025                      23.9                          Verified
          3                   01/25/2025                      23.9                          Verified
          4                   01/26/2025                      23.9                          Verified
          5                   01/27/2025                      23.9                          Verified
          6                   01/28/2025                      23.9                          Verified
          7                   01/29/2025                      23.9                          Verified
          8                   01/30/2025                      23.9                          Verified
          9                   01/31/2025                      24.0                          Verified
         10                   02/01/2025                      23.9                          Verified
         11                   02/02/2025                      23.9                          Verified
         12                   02/03/2025                      23.9                          Verified
         13                   02/04/2025                      23.9                          Verified
         14                   02/05/2025                      23.9                          Verified
         15                   02/06/2025                      23.9                          Verified
         16                   02/07/2025                      23.9                          Verified
         17                   02/08/2025                      23.9                          Verified
         18                   02/09/2025                      24.0                          Verified
         19                   02/10/2025                      23.9                          Verified
         20                   02/11/2025                      23.9                          Verified
         21                   02/12/2025                      23.9                          Verified
         22                   02/13/2025                      23.9                          Verified
         23                   02/14/2025                      23.9                          Verified
         24                   02/15/2025                      23.9                          Verified
         25                   02/16/2025                      23.9                          Verified
         26                   02/17/2025                      23.9                          Verified
         27                   02/18/2025                      23.9                          Verified
         28                   02/19/2025                      23.9                          Verified
         29                   02/20/2025                      23.9                          Verified
         30                   02/21/2025                      23.9                          Verified
 Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
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